Case 1:20-cr-00119-RBK Document 25 Filed 02/05/20 Page 1 of 1 PagelD: 133

AO 455 (Rev. 01/09) Waiver of an Indictment

ONITED STATES DISTRICT COURT
for the
District of New Jersey

CaseNo. “Lia ~ (VG (poe)

United States of America
v.

KHALIF TOOMBS

Sweet eee el

Defendant
WAIVER OF AN INDICTMENT

| understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. | was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to.prdsecution by
information.

Biv ios
fF

or

if Defendant 's signature

‘Signature of défendant's atlorney

re | Ballacais

rinted name of AL, 7 ‘5 atlorney

Wee MOP

Judge 's signature

“Polat 6, Kus) ugler _
title

Judge's printed name a

